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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SUN PHARMACEUTICAL INDUSTRIES, )
LTD., et al.                   )
                               )
       Plaintiffs,             )
                               )
v.                             )                     C.A. No. 18-648-WCB
                               )
SAPTALIS PHARMACEUTICALS, LLC, )
                               )
       Defendant.              )

           DEFENDANT SAPTALIS PHARMACEUTICALS, LLC’S
 MOTION FOR EXCEPTIONAL CASE DETERMINATION AND ATTORNEYS’ FEES
                    PURSUANT TO 35 U.S.C. § 285

       Defendant Saptalis Pharmaceuticals, LLC (“Saptalis”) respectfully moves this Court to

grant Saptalis’ Motion for Exceptional Case Determination and Attorneys’ Fees Pursuant to 35

U.S.C. § 285. Saptalis respectfully requests entry of an Order: (1) finding Saptalis is the

prevailing party; (2) finding this case is exceptional under 35 U.S.C. § 285; and (3) finding

Saptalis is entitled to its reasonable attorneys’ fees to the extent permitted by law. The grounds

for this Motion are fully set forth in the accompanying Memorandum of Law, filed

contemporaneously herewith and incorporated by reference herein.
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 July 2, 2020                             Respectfully submitted,



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